           Case 2:22-cv-00316
             Electronically           Document 1-2 Filed 01/14/22 Page 1 of 24 Page ID #:58
                            Filed by Superior Court of California, County of Orange, 11/10/2021 05:16:47 PM.
30-?021-01231132-CU-OE-CJC - ROA # 4- DAVID H. YAMASAKI, Clerk of the Court By Katie Trent, Deputy Clerk.




                                           SLJIYIIYi®Na7                                                             I           FORCOURTUSEOIJLY
                                                                                                                            (SOLOPARAUSODELACORTE)
                                   (`~'I TQ`~■ ON "`+D+CI^L)

 NOTICE TO DEFENDANT:
 (AVISO AL DEMANDADO):
 RHEEM SALES COMPANY, INC., RHEEM MANUFACTURING COMPANY,
 and DOES 1 through 50, inclusive
 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 MICHAEL GOSZ
  roU i ic:ti You nave been suea, i ne court may tlecitle agalnst you vnthout your being heartl unless you respond within 30 days. Read the information
 below.
   You have 30 CALENDAR DAYS affer this summons and legal papers are served on you to flle a written response at this court and have a copy
 served on the plaintiff. A letter or phone call vrill not protect you. Your wntten response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response, You can find these court forms and more informatlon at the Caiifornia Courts
 Online Self-Help Center (►v<nv.courtinfo.ca.gov/selthelp), your county law library, or the courthouse nearest you. If you cannot pay lhe filing fee, ask the
 court cderk for a fee waiver form. If you do not filg your response on time, you rnay lose the case by default, and your wages, money, and property may
 be taken without further waming from the court.
    There are other legal requirements. You may want to call an altorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, yau may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (tvww.lawhelpcalifornia.org), the Callfornia Courts Online Self-Help Center
 (tvww.courtinfo.ca.gov/selfhelp), or by contacting your local court or counly bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or rrtore in a civil case. The court's lien must be paid before the court vtiil dismiss the case.
 IAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versidn. Lea la inforrnacJdn a
 continuaci6n.
   Tiene 30 D/AS DE CALENDAR(0 despurss de que le entreguen esta citaci6n y papeles /egales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia a/ demandante. Una carfa o una llamada te/efonica no to protegan. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en /a cotfe. Es posfble que haya un formulario que usted pueda usar para su rrespuesta.
 Puede encontrar estos formularios de la corte y mbs informaci8n en el Centro de Ayuda de las Cortes ide Califomia (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en /a corfe que 1e quede mSs cerca. Si no puede pagarla cuota de presentacidn, pida a/ secretario de la corte que
 le d@ un for+nufario de exencibn de pago de cuotas. SI no presenta su respuesta a tiempo, puede perder el caso por incumptimiento y la corte /e podrb
 quitar su sueldo, dinero y bienes sin mAs adyertencia.
   Hay otros requisitos legales. Es recomendable que llarne a un abogado lnmediatamente. Si no conoce a un abogado, puede llamar a un seniicfo de
 remisibn a abogados. Si no puede pagar a un abogado, es posib/e que cumpla con los requisitos para obtener servicios loga/es gratuitos de un
 programa de servicios legales sin rnes de Iucro. Puede encontrar estos grupos sin fines de lucro en e( sitio web de California Legal Services,
 (wrnv.lawhe/pcalifomia.org), en el Centro de Ayuda de las Cortes de Ca/ifomia, (www.sucorte.ca.gov) o poniendose en contacto con /a corte o el
 colegio de abogados locales. A V1S0: Porley, la corte tiene derecho a reelamarlas cuotas y los costos exentos por lmponer un gravamen sobre
 cualquier recuperacldn da $10,000 6 mis de va/or reclbida mediante un acuerdo o una concesit5n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar e/ caso,
The name and address of the court is:                                                                      CASE NUMBER: (Nuniero del Caso):
(EI nombre y direcci6n de la corte es):
Orange County Superior Court                                                                                 30-2021-01231132-CU-OE-CJC
Central Justice Center, 700 Civic Center Drive West, Santa Ana, CA 92701                                           Judge Lon F. Hunrvita
The name, address, and telepthone number of plaintiff's attomey or plaintiff without an attorney, is: (EI nombre, la direccifin y e/ ntimero
de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
Daniel P. Stevens (SBN 164277), STEVENS 8 McMILLAN, 335 Centennial Way, Tustin, CA 92780 Tel: (714) 730-1000
DATE:                                                                        Clerk, by              ~ j,,•~ '~               Deputy
         1111012021 dAVID H. Y4MASAKI, Clerk af the Gaurt
(Fecha)                                                                      (Secretario)          l u~~ ✓ ~                (A djunto)
(For proof of service of this summoris, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use o/ formulario Proof of Service of Summons, (POS-010).)          ICati e Tre nt
                                 NOTICE TO THE PERSON SERVED: You are served
                                      1. Q        as an individual defendant.
                                      2.   Q      as the person sued under the fictitious name of (specify):

                                      3.   ®      on behalf of (specify): RHEEM SALES COMPANY, INC.

                                           under: Q      CCP 416.10 (corporation)                                    CCP 416.60 (minor)
                                                   Q     CCP 416.20 (detunct corporation)                    Q]      CCP 416.70 (conservatee)
                                                   [~    CCP 416.40 (association or partnership)             Q       CCP 416.90 (authorized person)
                                                   [Q other (specify):
                                      4.   [Q     by personal delivery on (date)
                                                                                                                                                        Pa otofl
Form Adopled lor Mondatory Usa
JutlItIW Cauncil oi Colifomia                                          SU M MO N S                                             Code of Gvil Prawdure §§ 4 i 2.20. 455
SUP.4•100 iRev. July 1, 2009j                                                                                                                    www.coulfs. ca.pov
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30-2021-0121132-CU-OE-CJC - ROA # 2- DAVID H. YAMASAKI, Clerk of the Court By Katie Trent, Deputy Clerk.




          1 Heather McMillan (SBN 188939)
            heather@.scmclaiv, com
          2 Daniel P. Stevens (SBN 164277)
            ken@scmclaia,. com
          3 STEVENS & McMILLAN
            335 Centennial Way
          4 Tustin, CA 92780
            Tel.: (714) 730-1000
          5 Fax: (714) 730-1067

          6 ~Attorneys for Plaintiff
             MICHAEL GOSZ
          7

          8              IN TIIE SUPEItIOR COURT FOR TIIE STATE OF CA]LIFORNIA

          9              FOR TFIE COUNTY OF ORANGE, CENTRAL JUSTICE CENTER
        10      CHAEL GOSZ,                                )       Case No.: 30 -202 1- 0 123 1132 -CU -OE -CJC

        11                             Plaintiff,
                                                                   COMPLAINT FOR DAMAGES
        12 v.
                                                                   1.      Harassment
        13 R 3EM SALES COMPANY, INC.,                              2.      Discrimination
           R -EM MANUFACTURING COMPANY                             3.      Retaliation
        14 ar DOES 1 through 50, inclusive,                        4.      Failure to Prevent
                                                                           I3iscrimination
        15                             Defendants.                 5.      Family Medical Leave Violation
                                                                   6.      Breach of Contract
        16                                                         7.      Unpaid Wages
                                                                   8.      Wrongful Termination
        17                                                              Assigned for AII Purposes
                                                                          ludge Lon F. Hurv,rita
        18          Plaintiff alleges:

        19          1.      At all times mentioned in this complaint, Defendants RHEEM SALES COMPANY,
        20 INC. and R1=iEEM MANUFACTURING COMPANY were each, respectively, a corporation, duly
                                                                                                                  I
        21 lI licensed, and conducting business in the County of Orange, State of California.
        22          2.      At all times mentioned in this complaint, Plaintiff MICHAEL GOSZ was a resident

        23 of California. During the relevant time period, Plaintiff was employed by and then terminated by I
        24
        25          3.      Plaintiff does not kiiow the true names ofDefendants DOES 1 through 50, inclusive, '
        26    id therefore sue them by those fictitious names.
        27          4.      Plaintiff is informed and believes, and on the basis of that information and belief

        28    leges, that at all times mentioned in this complaint, defendants were the agents and employees of
                                                               1
                                                    COMPLAINT FOR DAMAGES
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 3 of 24 Page ID #:60




  1 their co-defendants or otherwise responsible for the conduct complained of herein, and in doing the
  2 things alleged in this complaint were acting within the course and scope of that agency and

  3 employment or were otherwise responsible for the damages complained of by the Plaintiff.
  4 1                                  FACTUAL ALLFGATIONS

  5          5.     Michael Gosz was hired on March 15, 2016 as a District Sales Manager. During his

  6 initial interview, Regional Sales Manager, Ben Whittington said. "I see when you graduated. I'm not

  7 supposed to ask this, but how long are you going to continue to work?" Mr. Gosz was 59 at the time.
  8          6.     Sometime shortly after he was hired, Mr. Whittington told Mr. Gosz that Mr. Gosz

  9 was not his first ehoice for the District Manager role and that he only agreed to hire him because

 10 ~Randy made him and that he actually had wanted to offer the job to Scott Arviso, who was much
 11 vounaer.

 12          7.     Mr. Whittington, wlio is approximatelyl0 years younger than Mr. Gosz, repeatedly
                                                                                                  ,
 13 made age related comments in reference to Mr. Gosz and his 70 year old counterpart, Roger Pessier.

 14 He referred to Mr. Gosz as the "old mair" and to both of them as "the old guys" These cornments

 15 were verbal and in text messages. On one occasion, on July 18, 2019, while at a business meeting
 16 at the Marriott in Sandy Utah, Mr. Whittington told the server to bring "an old fashioned for the old
 17 man." Mr. Gosz was embarrassed and offended by the comments.
 18         8.      Mr. Whittington also repeatedly made inappropriate sexual comments and was

 19 degrading to women, making Mr. Gosz and others feel very uncomfortable. For example he routinely
 20 commented on female employees' breast size and stated, "Oh, what I could do with that!" in

 21 reference to female employees or women who happened to be in the vicinity at the airport or a
                              ,
 22 restaurant for example.

 23         9.      Mr. Gosz felt targeted and harassed by Mr. Whittington based on his age. In October
 24 2019, he submitted a formal complaint to HR regarding age discrimination, age harassment and he
 25 also reported the inappropriate gender based comments.
 26         10.     Mr. Gosz was placed on a medical leave on November 21, 2019 and underwent open
 27 heart surgery on December 5"', 2019. The company gave approval for the leave to be treated as a
 28 medical leave under state and federal law. He returned to work without restrictions on February 4,
                                                      2
                                        COMPLAINT FQR DAMAGES
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 4 of 24 Page ID #:61




  2          11.     iVlr. Gosz consistently excelled in sales, had been given awards and increased sales

  3 year over year for and exceeded goals all four years of his employment. In fact, he was scheduled

  4 to receive a bonus for around $60,000 for liis sales in 2020. He was terminated on October 7, 2020,

  5 without any reason given. Plaintiff was replaced by a younger employee.

  6          12.     The plaintiff filed administrative complaints with the Department of rair Housing and

  7 Employment within tiie statutory time period and received Notices of Case Closure (Right-to-Sue

  S Letters) for eacli defendant named herein.

  9                                     FIRST CAUSE OF ACTION

 ]0                                (Harassment - Gov't Code § 12940(i)(1))

 11                                 (13y Plaintiff Against All Defendants)

 12          13.     Plaintiff liereby incorporates paragraphs I througli 12, inclusive, as tliough fully set

 13 forth at this point.

 14          14.     This actioii is brought pursuant to the California Fair Employment and Practices Act,

 15 section 12940(j)(1) of the Govemnent Code, which prohibits harassment against a person on the

 16 basis of the person's age, and the corresponding regulations of the California Fair Employment and

 17 Housing Comniission,

 18          15.     At all times mentioned in this coiiiplaint, Defendant employers regularly employed

 19 at least one eniployee bringing the Defendant employer within the provisions ofsection 12940 et seq.

 20 lof the Government Code prohibiting employers or their agents from harassing employees on the

 21 basis of aae.

 22          16.     During Plaintiff's employment as alleged herein, defendants repeatedly engaged in

 23 unwelconie behavior toward plaintiff that was derogatory on the basis of age and/or sex.

 24          17.     As described above, plaintiff was subjected to repeated derogatory age related

 25 coiiimeiits, inter alia. All of this conduct constituted severe and pervasive harassment.

 26          18.     Plaintiff alleges tllat the conduct as described in this complaint was unweleome and

 27 offensive to plaintiff and would have been offensive to any reasonable person in plaintitif's position.

 2S          19.     Plaintii'f did not consent to such conduct.
                                                         3
                                         COMNLAIIVT FOR DAMAGES
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 5 of 24 Page ID #:62




              20.     As a direct and proximate result ofthe uiilawful conduct as alleged in this Complaint,

  2 the Plaintiff has suffercd extreme and severe anguisli, humiliation, nervrousness, anger, tension,

  3 anxietv and etnotional distress.

  4           21.     As a further direct and proximate result of the unlawful conduct described herein, the

  5 Plaititiff lias suffered and continues to suffer loss of income, loss of earning capacity, loss of job

  6 opportunity and otlier losses.

  7          22.      Because Plaintiff was harassed in violation ofthe law, plaintiff is entitled to recover

  8      )rneys' fees and costs in this action pursuant to Calii'ornia Governrnent Code section 12965(b).

  9          23.      Because the acts taken toward Plaintiff were carried out by Defendants acting in a

 10      iberate, cold, callous, nialicious, oppressive, and intentional manner in order to injure and damage

 11      intifl; Plaintiff requests the assessnient of punitive damages against Defendants in an amount

 12      )ropriate to punish and make an example of DePendants.

 13                                    SECOND CAUSE,OF ACTION

 14                             (Discrimination-Gov't Code section 12940(a))

 15                                  (By Plaintiff Against All Defendants)

 16          24.     PlaintitT hereby incorporates paragraphs 1 through 23, inclusive, as though fully set

 17 fortli at this point.

 18          25.     This action is brought pursuant to the California Fair Employment and Housing Act,

 19 section 12940(a) ofthe Government Code, whicli proliibits an employer from discharging, expelling

 20 or otherwise discriminating against any person because oi'the person's age.

 21          26.     At all times mentioned in this complaint, Defendants regularly employed at least five
 22 employees bringing the Defendant employer within the provisions o1'section 12940 et seq. 6f the

 23   Government Code.                                                 i

 24          27.     During Plaintiff's employnient, as alleged herein, Defendant was subjected to age

 25 liarassment and tultimately fired because of his age and replaced by a younger worker.

 26          23.     As a direct and proxiinate result of Defendants' unlawful conduct as alleged in this
 27 coniplaint, Plaintiff lias suffered extrcme and severe anguisll, humiliation, anger, teIlsion, anxiety,

 2S dcpression, lowered self-esteem, and emotional distress.
                                                        4
                                         COMPLAINT FOI2 DAMAGES
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 6 of 24 Page ID #:63




              29.     As a further direct and proxiinate result of tlie unlawtul conduct, the Plaintiff has

              i and cotitiniies to suffer loss of income, loss of earning capacity, loss of job opportunity and

  3 Ilother losses.

  4           30.     Because Plaintiff was discriniinated against in violation of the laNv, plaintiff is

  5 entitled to recover attorneys' fees and costs in this action pursuant to Califotnia Government Code

  6 section 12965(b).

  7           31.     13ecause the acts taken toward Plaintiff were carried out by Defendants acting in a

  8 deliberate, cold, callous, malicious, oppressive, and: intentional manner in order to injure and damagc

  9 plaintiff, Plaintiff requests the assessment of punitive damages against Dei`endants in an aniotnit

 10 appropriate to punish and make an example of Defendants.

 11                                      THIRD CAUSE OF ACTION

 12                                                (Retaliation)

 13                                   (By Plaintiff Against All Defendants)

 14           32.     Plaintiff hereby incoi-porates paragraphs 1 tlirough 31, inclusive, as tliougli fully set

 15 Ilforth at this point.

 16           33.     This action is brought pursuant to the California Fair Employment and Practices Act,

 17 section 12940(h) ofthe Government Code, wliich prohibits an employer from discharging, expelling

 18 or otherwise discriminating against any person because the person has opposed any practice

 19 iforbidden under Government Code section 12940 et seq. and/or the corresponding regulations of the

 20 Califoi7iia Fair Eniploynient and Housing Commission.

 21           34.     At all tinies mentioned in this complaint, Defendaiits regularly employed at least five

 22 employees bringing the defendant etnployer within the provisions of section 12940 et seq. of the

 23 Goveiwiient Code prohibiting employers or their agents from retaliating against an eniployce who

 24 oppi ses practices forbidden under the Fair Employment and Housing Act.

 25           35.     As more fully set forth licrein, plaintiff was subjected to liarassment and

 26 discrimination wliile employed by the defendants.

 27           36.     In retaliation for complaining about the illegal conduct, plaintiff was subjected to

 28 lieightened scrutiny, uiifairly reprimandcd and criticized, subjected to undesirable work conditions
                                                         5
                                          COMI'LAINT FOR DAMAGES
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 7 of 24 Page ID #:64




  1       terminated.

  2          37.     As a direct and proximate result of Defendants' unlawful conduct as alleged in this

  3 coinplaint, plaintiff has suffered extreme and severe anguish, humiliation, nervousness, aiiger,

  4 tension, anxiety, and emotional distress.

  5          38.     As a ftirther direct and proximate result ofthe unlawfttl conduct, plaintitfhas suffered

  6 and continues to suffer loss of iricome, loss of earning capacity, loss of job opportunity and other

  7

  8          39.     Bccause plaintiff was retaliated against in violation of the Fair Employment and

  9 Housing Act, plaintiff is entitled to recover attorney's fees and costs in this action pursuant to

 10 California Government Code section 12965(b).

 11          40.     Because the acts talceii toward plaintiff were carried out by Defendants acting in a

 12 deliberate, cold, callous, Inalicious, oppressive, and intentional manner in orderto injure and damage

 13 plaintiff, plaintiff requests the assessment of punitive daniages against Dcfendants in an amount

 14 appropriate to punish and make an example of Defendants.

 15                                    FOURTH CAUSE OF ACTION
 16                        (Failure to Prevent Discriniination - Gov't Code S 12940(k))

 17                                   (By Plaintiff Against AII Defendants)

 18          41.     Plaintiff liereby incorporates paragraphs 1 through 40, inclusive, as though fully set

 19 forth at this point.

 20          42.     This action is brought pursuaiit to the California Fair Eniployment and Practiccs Act,

 21 section 12940(k) of the Government Code, which prohibits an employer from failing to take all

 22 reasonable steps necessary to prevent discriniination,          harassment and retaliation and the
 23 corresponding regulations of the California rair Employment and Housing Cominission.

 24          43.    At all times mentioned in this complaint, Defendants regularly employed at least five

 25 employees bringing Defendant employer within the provisions of' section 12900 et seq. of the

 26 Government Code proliibiting employers or their agents from failing to take all reasonable steps

 27 necessary to prevent discrimination, harassment and retaliation.

 28          44.    Defendants failed to take all reasonable steps necessary to prevent discrimination and
                                                       6
                                          COMPLAINT FOR llAMAGES
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 8 of 24 Page ID #:65




  1 harassnient in that the employer failed to comply with Department of Fair Etnploytnent and 1-lousing

  2 laws and regulatiotis, failed to offer discriniination and harassinent training, failed to maintain an

  3 effective complaint procedure, failed to adequately educate managcrs about discrimination and

  4 harassment and 1'ailed to educate nianagers regarding proper responses to complaints. Defetidants

  5 also failed to take all reasonable steps to prevent liarassmetit and discritnination by iiot takiiig

  6 adequate remedial action after beconiing aware of ongoing discrimination a►id liarassnicnt.

  7           45.    As a direct and proxiniate result of Defendants' unlawfitl conduct as alleged in this

  8 complaint, Plaintiff has suffered extrenie and severe anguish, humiliation, anger, tension, anxiety,

  9 depression, lowered self-esteem, sleeplessness and emotional distress.

 10           46.    As a further direct and proximate result ofthe unlawful conduct, Plaintiffhas suff'ered

 11 and continues to suffer loss of income, loss of earning capacity, loss of job opportunity and othcr

 12 losses.

 13 ~~        47.    Because the Defendants failed to prevent discrimination and harassment in violation

 14 of the Fair Eniployment and Housing Act, Plaintiff is entitled to recover attorneys' fees and costs

 15 in this action pursuant to California Government Code section 12965(b).

 16           48.    Because the acts taken toward Plaititiffwere carried out by Defendants acting in a

 17 Ideliberate, cold, callous, malicious, oppressive, and intentional manner in ordcr to injure atid daniage

 18         ff; Plaintiff requests the assessment of punitive damages against Defendants in an amount

 19         )riate to punisli and make an example of Defendants.
 20                                     FIFTH CAUSE OF ACTION

 21                  (Violation of Califoniia Family Rights Act - Gov't Code §12945.2)

 22                                  (B), Plaintiff agaiiist All Defendants)

 23           49.    Plaintiff hereby incorporates paragraphs 1 through 48, inclusive, as though fully set

 24        at this point.

 25           50.    This action is brought pursuant to the California Fair Einploynient and Practices Act,

 26 section 12945.2 of the Government Code and/or the corresponding regulations oftlie California Fair

 27 Etnployment and Housing Commission, Nvhich makes it an unlawful employment practice for an

 28 employer to refttse to grant a request by any employee with more tlian 12 months of service with the
                                                        7
                                         COMPLAINT FOR DAMAGES
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 9 of 24 Page ID #:66




   1 employer ancl who lias at least 1,250 hours of service with the cmployer during the previous 12-

   2 month period, to take tip to a total of 12 workweeks in any 12-month period for f'amily care and

   3 medical leave. 'fhis section is deemed violated when an employcr fails to retturn an eniployee to the

  4 same or comparable position at the end of the leave or if'the eniployer discriminatcs against the

   5 employee for taking or asking for leave.

  6           51.    At all timcs mentioned in this complaint, plaintiff was an cmployee of defcndant

  7 employers within the mcaning of Government Code sections 12926, 12940 and 12945.2.

  8           52.    At all times relevant herein, Defendants were and are an "employer" under FrHA,

  9 regularly employing five or niore eniployees, respectively, within the meaning of Government Code

  ] 0 sections 12926 and 12940.

 11 II       53.     At all tiines relevant herein, Defendants, waived the requirement that a minimum

 12 llnuniber of employees iziust be employed witliin 75 miles for plaintiff to receive a medical leave

 13 under state and lederal law.

 14          54.     Plaintiff was eniployed by defendants for at least twelve (12) total inonths prior to

 15 plaintiif's request for leave as alleged more fully herein.

 16          55.     Plaintiff gave defendants at least one thousand two liundred fifty (1,250) hours of

 17 seivice during the twelve (12) montli perioci imniediately preceding the request for or

 18 cominencement of plaintiff's leave.

 19          56.     As is more fully set forth herein, plaintiff took leave for surgery. Defendants

 20 unlawfully discriminated and/or retaliated against plaintiff by terminating him, inter alia.

 21          57.     As a direct and proxiniate result of defendants' unlawful conduct as alleged in this

 22 coniplaint, plaintiff lias suffered extreme and severe anguisli, liuiniliation, nervousness, anger,

 23 tension, anxiety and etnotional distress.

 24          5S.     As a further direct and proximate result of the unlawful conduct, plaintiff has

 25 suffered and continues to suffer loss of income, loss of carning capacity, loss of job opportunity

 26 and other losses.

 27 II       59.     13ecause plaintiff Nvas discriminated against in violation of thc Fair Lmploynient

 28 land 1-lousing Act, plaintiff is entitled to recover attorneys' fees and costs in this action pursuant to
    If                                                   8
                                         COMI'LAINT FOR DAMAGES
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 10 of 24 Page ID #:67




   1 California Government Code section 12965(b).

   2           60.     13ecause the acts taken toward plaintiff-vvere carried out by defendants acting in a

   3 deliberate, cold, callotts, maliciotts, oppressive, and intentional manner in order to injure and

   4 daniage plaintiff, plaintiff requests the assessment of punitive damages against dcfendants in an

   5 aniount appropriate to pumish and makc an example of defendants.

   6                                      SIXTH CAUSE OF ACTION

   7                                            (Breach o!' Contract)

   8                                   (By Plaintiff against All Defendants)

   9           61.     Plaintiff hereby incorporates paragraplis 1 through 60 as though fully set fortli at this

  10 uoint.

  11          62.      Defendant liad given plaintiff a structured commission plan where lie would be paid
  12 money based on sales. In 2020, plaintiff qualified for approximately $60,000 in commissions but

  13 thev were not paid to him.

  14          63.      Defendants breaclied the agreenient by not paying the plaintiff for tlhe commissions

  15 and/or breaching the implied covenant ofgood faith and fair dealing by preventing hi►rn from getting

  16 the beneYit of the agreement by tenninating hini before the comniissions were normally paid out.

  17          64.      As a direct result of these brcaches, plaintiff has suffered economie damagcs.

  18                                    SEVENTH CAUSE OF ACTION

  19                                          (Pailure to Pay Wages)

  20                                   (By Plaintiff Against All Defendants)

  21          65.     Plaintiff liereby incorporates paragraphs 1 through 64, inclusive, as though fully set
  22 forth herein.

  23          66.     Plaintiffwas owed approximately $60,000 in cominissions by the dct'endant.

  24          67.     Defendant refused to pay plaintiff the wages owed to him.

  25 '        68.     Plaintiff is entitled to the wages owed, interest and in addition he is entitled to wait

  26 il ti►ne penalties against Defendants, in an ainount to be determined at trial according to proof, pursuant
  27 to Labor Code section 203, which provides that an employee's wages sliall continue as a penalty until

  28 paid, for a period of up to thirty days from tlhe time they were due.
                                                         9
                                           COMPLAIN'I' FOR DAMAGES
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 11 of 24 Page ID #:68




   1                                  EIGHTH CAUSE OF ACTION

  2                                         (Wrongful Termination)

  3                                 (By Plaintiff Against All Defendants)

  4          69.     Plaintiff hereby incorporates by reference paragraplis 1 through 68, inclusive, as

  5 though fully set forth at this point.

  6          70.    Plaintiff alleges that the discliarge was wrongfiil because it was in violation of the

  7 public policy of the State of California as set forth in California Government Code section 12940

  8 et seq., the administrative regulations of the Fair Employment and Housing Act and Article 1, section

  9 8 of the Constitution of the State of California, as set forth more fully herein.

 10          71.    As a direct and proximate result of Defendants' unlawful conduct as alleged in this

 11 complaint, Plaintiff has suffered extreme and severe anguish, humiliation, anger, tension, anxiety,

 12 depressioii, lowered self-esteem, sleeplessness and emotional distress.

 13          72.    As a further direct and proximate result of the tmlawful conduct, Plaintiff has suffered

 14 ~and contiinies to suffer loss of income, loss of earning capacity, loss of job opportunity and other

 15
 16          73.    Because the acts taken toward Plaintiff were carried out by Defendants actiiig in a

 17     iberate, cold, callous, malicious, oppressive, and intentional manner in order to injure and damage

 18     intiff, Plaintiff recluests the assessment of punitive damages against Defendants in an amount

 19     >ropriate to punisli and make an example of,Defendants.

 20          WHEREFORE, Plaintiff demands judgment against Defendants as follows:

 21     to the First, Second, Third, Fourth, and Fifth Causes of Action:

 22          l.     For general aiid compensatory damages;

 23         2.      For special damages according to proof;

 24         3.      For punitive daniages;

 25         4.      For prejtidgment interest on all amounts claimed that are readily ascertainable;

 26          5.     For costs and attorneys' fees pursuant to Government Code section 12965(b); and
 27         6.      For such other and further relief that the court considers proper.

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                                                      10
                                        COMPLAINT FC       DAMAGES
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 12 of 24 Page ID #:69




   1 As to the Sixth Cause of Action:

   2        1.      For breacli of contract daniages including economic loss;

   3        2.      For prejudgment interest on all amounts claimed that arc readily ascertaiiiable;

   4        3.     I or costs and sucli otlier and further• relief tllat the court considers proper.

   5     to the Seventh Cause of Action:

   6'        I.    A11 unpaid wages;

   7,       2.     For prejudgment interest on all aniounts claimed;

   8'       3.     For a Labor Code section 203 penalty equal to 30 days of wages;

   9        4.     For attorneys' fees and costs pursuant to Labor Code sections 218.5; attd

  10        5.     For such other and further relief that the court considers proper.

  11 '   to the Eighth Cause of Action:

  12         I.    For general and compensatory damages;

  13        2.     For special damagcs according to proof;

  14        3.     For pu►iitive damages;

  15        4.     For prejudgnient interest on all aniounts clainied that are readily ascertainable;

  16        5.     For costs; and

  17        6.     For such other and fiirther reliefthat the court considers proper.

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  20

  21                                                       STEVENS & McMILLAN

  22

  23       : November 10, 2021                     I3y:                                                —
                                                           DANIEL P: TEVENS
  24                                                       Attorney for Plaintiff
                                                           MICHAEL GOSZ
  25

  26

  27

  28

                                        COMPLAINT FOR DAMAGGS
            Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 13 of 24 Page ID #:70
          Electronically Filed by Superior Court of California, County of Orange, 11/10/2021 05:16:47 PM.
30-2021-01231132-CU-OE-CJC - ROA # 3- DAVID H. YAMASAKI, Clerk of the Court By Katie Trent, Deputy (dff1p10
 ATTORNEY OR PARTY N,1THOUT ATTORNEY (Namo, Stafo aarnumber. and address):
                                                                                                                             FORCOt1RTUSEONLY
Daniel P. Stevens (SBN 164277)
Stevens & McMillan
335 Centennial Way, Tustin, CA 92780

            TELEPHONE NO.: (714) 730-1000                      FAx nD. foplionaU. (714) 730-1067
      ATTORNEY FOR (Name): Plalntlff MICiHAEL G0SZ

SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 sTREETADDREss: 700 Civic Center Drive West
 I,tAILING AODRESS:
CITY AND ZIP CODE: Santa Ana ,     California 92701
      eRANCH NAME: (',entral JUstICe Center

 CASE NAME:
  MICHAEL GOSZ v. RHEEM SALES COMPANY, INC., et al.
          CIVIL CASE COVER SHEET                 Complex Case Designation              CASE f'JUfdBER

~x        Unllmlted         Q Limited                Counter         0     Joinder       30-2 02 1-0 123 1 132-CU-OE-CJC
           (Amount            (Amount
                                             Filed with first appearance by defendant JUDGE' ud
           demanded           demanded is                                                              e Lon F. Huryvitz
                                                 (Cal, Rules of Court, rule 3,402)     DE.•
                                                                                         PT ~        g
           exceeds $25,000)   $25,000)
                               Items 1-6 below must be completed (see instructions on page 2).
       Check one box below for the case type that best describes this case:
      Auto Tort                                   Contract                                               Provisionally Complex Civil Litigation
      ~     Auto (22)                                      0       Breach of contracUwarranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
      ~     Uninsured motorist (46)                                Rule 3.740 collections (09)           Q      AntitrusUTrade regulation (03)
      Othor PI/PDIVYD (Personal Injury/Proporty            Q       Other collections (09)                0      Conslruction defect (10)
      Damago/Wrongful Death) Tort                                                                        ~     Mass tort (40)
                                                           Q       Insurance coverage(18)
      0        Asbestos (04)                                                                             ~     Securities litigalion (28)
                                                           0 Other contract (37)
      0       Product liability (24)                                                                     ~     EnvironmentallToxic lort (30)
                                                       Real Property
      ~       Medical malpractice (45)                                                                   ~     Insurance coverage claims arising from the
                                                       =     Emtnent domaln/lnverse
                                                                                                               above listed provisionally complex case
      0     Other PIIPDlWD (23)                              condemnation (14)
                                                                                                               types (41)
      Non-PI/PDNUD (Othor) Tort                        0     Wrongful eviclion (33)                      Enforcement of Judgment
      0     Business torUunfair business practice (07) 0     Other real property (26)                    0     Enforcement of judgment (20)
      ~     Civil rights (08)                          Unlawful Dotainer
                                                                                                         Miscellanoous Civil Complaint
      Q       Defamation (13)                              0       Commercial (31)
                                                                                                         0     RICO (27)
      Q       Fraud (16)                                   0       Residential (32)
                                                                                                         Q     Olher complaint (not specified above) (42)
      ~        Intellectual property (19)                  0     Drugs (38)
                                                                                                         Miscollanoous Clvll Potition
      ~        Professional negligence (25)                Judicial Roviow
                                                                                                         0     Partnership and corporate governance (21)
      0    Other non-PI/PDNVD tort (35)                    0       Assel forfeiture (05)
      Employmont                                           0       Petition re: arbitralion award (11)   Q     Olher petition (not speciCed above) (43)

      0        Wrongful terminalion (36)                   0       Writ of mandate (02)
      ®        Olher employment (15)                       0       Olher judicial review (39)
 2.    This case =       is    0      is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management:
      a.        Large number of separately represented parties       d.        Large number of witnesses
      b.        Extensive motion practice raising difficult or novel e.        Coordination with related actions pending in one or more
                issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
      c.        Substantial amount of documentary evidence                     court
                                                                     f. 0      Substantial postjudgmentjudicial supervision
 3.    Remedies sought (check all that apply): a. ®       monetary b. =      nonmonetary; declaratory or injunctive relief c. x0 punitive
 4.       Number of causes of action (specify): Three (3)
 5.       This case =       is     F—x-1 is not      a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form C                         015.)
Date: November 10, 2021
Daniel P. Stevens
                            rTYPE OR PRINT NA6fEl                                                              (SIGF1.(,TUt2E OF PARTY OR ATTORNEY FOR PARTY(


      Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except sma(I claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may resuit
      in sanctions.
      File this cover sheet in addition to any covgr sheet required by local court rule.
      If this case is complex under ruie 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
      Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes oniy.
                                                                                                                                                             Paue 1 or 2
FormAdoptedforAlandatoryUso                                                                                       Cal RulesofCourt.rules2.30,3.220.3.40e-3.403,3740;
Judtiol Caundl of Califomia                                    CIVIL CASE COVER SHEET                                    CaI Stantlards ot Judival AdminisVation, sld. 3 10
CM•0101Rov. July 1, 2007)                                                                                                                              wnw.GouN3 Cd.Oov
       Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 14 of 24 Page ID #:71

                              INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                                 CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading, A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Partles In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is compiex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may fiie and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                        ASE TYPES AND EXAMPLES
  Auto Tort                                      Contract                                           Provislonally Complex Civil Litigatlon (Cal.
     Auto (}22 —Personal In'u  ) ry/Properiy         Breach of Contract/Warranty (06)               Rulos of Court Rules 3.400-3.403}
           DamageNVrongful Death                         Breach   of Rental/Lease                         AntitrustlTrade Regulation (03)
        Uninsured Molorist (46) (i/ the                       Contract (not unlawlu/ detainer             Constructlon Defect (10)
         case involves an unlnsured                               or rvrongu f l evcon)
                                                                                    i ti                  Claims Involving Mass Tort (40)
         motorist claim subjecl to                       ContractlWarranty Breach—Seller                  Securilies Litigation (28)
         arbftration, check this item                         Plaintiff (not lraud   ornegligence)        Environmentalrroxic Tort (30)
         instead olAuto)                                 Negligent   Breach    of ContracV                Insurance Coverage Claims
  Other PIIPD/WD (Personal Injury/                            Warranty                                          (arising from provisionally comp/ex
  Property DamagolWrongful Doath)                        Other Breach of Contract/Warranty                      case type listed above) (41)
  Tort                                               Collections (e.g., money owed, open           Enforcement of Judgment
      Asbestos (04)                                      book  accounts)    (09)                       Enforcement of Judgment (20)
          Asbeslos Property Damage                       Collection Case—Seller Plaintiff                  Abstract of Judgment (Out of
          Asbestos Personal Injuryl                      Other Promissory Note/Collections                       County)
                Wrongful Death                                Case                                     Confession of Judgment (non-
      Producl Llability (not asbestos or             Insurance  Coverage      (not provisionally            domesfic relations)
           toxic%nvironmental) (24)                      comp/ex) (18)                                 Sister State Judgment
      Medical Malpractice (45)                           Auto Subrogation                              Administrative Agency Award
            Medical Malpractice—                         Other Coverage                                    (not unpaid taxes)
                 Physfcians 8 Surgeorts              Other Contract (37)                                Petition/Certification of Entry of
      Olher Professlonal Health Care                     Contractual    Fraud                               Judgment on Unpaid Taxes
               Malpractice                               Other Contract Dispute                         Other Enforcement of Judgment
      Other PI/PDlWD (23)                        Real Property
                                                                                                              Case
            Premises Liabilily (e.g., slip           Eminent Domalnllnverse                        Miscellaneous Civll Complaint
                 and fall)                               Condemnation      (14)                         RICO (27)
            Intentlonal Bodily InjurylPD/WD          Wrongful Eviction (33)                             Other Complaint (not specifed
                  (e.g., assault, vandalism)         Other Real Properry (e.g., qulet title) (26)            above) (42)
            Intentlonal Inlliction of                    Writ of Possession of Real Property                 Deciaratory Relief Only
                 Emolionat Distress                      Mortgage Foreclosure                                Injunctive Refief Only (non-
            Negiigent Infliction of                      Qufet Title                                              harassment)
                  Emotional Distress                     Other  Real   Properiy   (not  eminent              Mechanlcs Lien
            Other PIIPDIWD                               domain,   landlordRenant,     or                    Other Commercial Complaint
  Non-PIfPDIWD (Othor) Tort                              /oreclosure)
                                                                                                                  Case (non-tort/non-complex)
      Business TorVUnfair Business               Unlawuetaner
                                                        f lD i                                               Other Civil Complaint
           Practice (07)                             Commercial     (31)                                          (non-toR/non-complex)
       Civil Rlghls (e.g., discrlminatlon,           Residential (32)
                                                                                                   Miscellaneous Civll Potitton
             false arrest) (not clvil                Drugs (38) (If the case involves illega/           Partnership and Corporate
             harassment) (08)                        drugs, check this item; othenvise,                     Govemance (21)
      Defamatlon (e.g., slander, libel)              mport as Commercial or Residential)                Other Petition (not speciried
              (13)                               Judicial  Review                                           above) (43)
      Fraud (16)                                     Asset Forfeiture (05)                                  Civil Harassment
      Inlellectual Property (19)                     Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                   Writ of Mandate (02)                                   Elder/Dependent Adult
           Legal Malpractice                             Writ—Administrative     Mandamus                        Abuse
           Other Professional Malpractice                Writ—Mandamus on Limited Court                     Election Contest
                (nol medical or lega!)                      Case    Matter                                  Pelition for Name Change
       Other Non-PIIPDIIND Tort (35)                     Writ—Other Limited Court Case                      Petition for Relief From Late
  Employmont                                                Review                                               Claim
      Wrongful Termination (36)                      Other Judfcial Review (39)                             Other Civil Petition
       Other Employment (15)                             Review   of  Health   Officer  Order
                                                         Notice of Appeal—Labor
                                                               Commissioner Aopeals
CM•OtO lRev. Jrdy 1. 20071                                                                                                                    aaBe 2 °r 2
                                                          CIVIL CASE COVER SHEET
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 15 of 24 Page ID #:72




                               SUPERIOR COURT OF CALIFORNIA
                                    COUNTY OF ORANGE

                       ALTERNATIVE DISPUTE RESOLUTION (ADR)
                              INFORMATION PACKAGE


NOTICE TO PLAINTIFF(S) AND/OR CROSS-COMPLAINANT(S):

Rule 3.221(c) of the California Rules of Court requires Ou to serve a copy of the
ADR Information Package along with the complaint and/or cross-complaint.

                                California Rules of Court — Rule 3.221
                       Information about Alternative Dispute Resolution (ADR)

(a) Each court shall make available to the plaintiff, at the time of filing of the complaint,
an ADR Information Package that includes, at a minimum, all of the following:

    (1) General information about the potential advantages and disadvantages of ADR
    and descriptions of the principal ADR processes.

    (2) Information about the ADR programs available in that court, including citations to
    any applicable local court rules and directions for contacting any court staff
    responsible for providing parties with assistance regarding ADR.

    (3) Information about the availability of local dispute resolution programs funded
    under the Dispute Resolutions Program Act (DRPA), in counties that are
    participating in the DRPA. This information may take the form of a list of the
    applicable programs or directioris for contacting the county's DRPA coordinator.

    (4) An ADR stipulation form that parties may use to stipulate to the use of an ADR
    process.

(b) A court may make the ADR Information Package available on its website as longas
paper copies are also made available in the clerk's office.

(c) The plaintiff must serve a copy of the ADR Information Package on each defendant
along with the complaint. Cross-complainants must serve a copy of the ADR
Information Package on any new parties to the action along with the cross-complaint.




L1200 Rev. Dec. 2019                                                                    Page 1 of4
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 16 of 24 Page ID #:73




                               SUPERIOR COURT OF CALIFORNIA
                                    COUNTY OF ORANGE

                                            ADR Information
Introduction.

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
a trial. ADR can also give people more opportunity to determine when and how their dispute will be
resolved.

BENEFITS OF ADR.

Using ADR may have a variety of benefits, depending on the type of ADR process used and the
circumstances of the particular case. Some potential benefits of ADR are summarized below.

Save Time. A dispute often can be settled or decided much sooner with ADR; often in a matter of
months, even weeks, while bringing a lawsuit to trial can take a year or more.

Save Money. When cases are resolved earlier through ADR, the parties may save some of the money
they would have spent on attomey fees, court costs, experts' fees, and other litigation expenses.

Increase Control Over the Process and the Outcome. In ADR, parties typically play a greater role in
shaping both the process and its outcome. In most ADR processes, parties have more opportunity to tell
their side of the story than they do at trial. Some ADR processes, such as mediation, allow the parties to
fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
allow the parties to choose an expert in a particular field to decide the dispute.

Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a dispute. For
example, an experienced mediator can help the parties effectively communicate their needs and point of
view to the other side. This can be an important advantage where the parties have a relationship to
preserve.

Increase Satisfaction. In a trial, there is typically a winner and a loser. The loser is not likely to be
happy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
find win-win solutions and achieve their real goals. This, along with all of ADR's other potential
advantages, may increase the parties' overall satisfaction with both the dispute resolution process and the
outcome.

Improve Attorney-Client Relationships. Attomeys may also benefit from ADR by being seen as problem-
solvers rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to produce
happier clients and thus generate repeat business from clients and referrals of their friends and associates.

DISADVANTAGES OF ADR.

ADR may not be suitable for every dispute.

Loss of protections. If ADR is binding, the parties normally give up most court protections, including a
decision by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
appellate court.


L1200 Rev. Dec. 2019                                                                                  Page 2 of4
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 17 of 24 Page ID #:74




Less discovery. There generally is less opportunity to find out about the other side's case with ADR
than with litigation. ADR may not be effective if it takes place before the parties have sufficient
information to resolve the dispute.

Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
through ADR, the parties may have to put time and money into both ADR and alawsuit.

Effect of delays if the dispute is not resolved. Lawsuits must be brought within specified periods of
time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
a dispute is in an ADR process.

TYPES OF ADR IN CIVIL CASES.

The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
conferences.

Arbitration. In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from
each side and then decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules
of evidence are often relaxed. Arbitration may be either "binding" or "nonbinding." Binding arbitration
means that the parties waive their right to a trial and agree to accept the arbitrator's decision as final.
Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that the
parties are free to request a trial if they do not accept the arbitrator's decision.

    Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
    want another person to decide the outcome of their dispute for them but would like to avoid the
    formality, time, and expense of a trial. It may also be appropriate for complex matters where the
    parties want a decision-maker who has training or experience in the subject matter of the dispute.

    Cases for Which Arbitration May Not Be Appropriate. If parties want to retain control over how
    their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
    arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
    evidence or the law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
    more favorable result at trial than in arbitration, there may be penalties.

Mediation. In mediation, an impartial person called a"mediator" helps the parties try to reach a mutually
acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
communicate so they can try to settle the dispute themselves. Mediation leaves control of the outcome
with the parties.

    Cases for Which Mediation May Be Appropriate. Mediation may be particularly useful when
    parties have a relationship they want to preserve. So when family members, neighbors, or business
    partners have a dispute, mediation may be the ADR process to use. Mediation is also effective when
    emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
    them communicate with each other in an effective and nondestructive manner.

    Cases for Which Mediation May Not Be Appropriate. Mediation may not be effective if one of the
    parties is unwilling to cooperate or compromise. Mediation also may not be effective if one of the
    parties has a significant advantage in power over the other. Therefore, it may not be a good choice if
    the parties have a history of abuse or victimization.

Neutral Evaluation. In neutral evaluation, each party gets a chance to present the case to a neutral
person called an "evaluator." The evaluator then gives an opinion on the strengths and weaknesses of
each party's evidence and arguments and about how the dispute could be resolved. The evaluator is


L1200 Rev. Dec. 2019                                                                                Page 3 of4
Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 18 of 24 Page ID #:75




often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
parties typically use it as a basis for trying to negotiate a resolution of the dispute.

    Cases for Which Neutral Evaluation May Be Appropriate. Neutral evaluation may be most
    appropriate in cases in which there are technical issues that require special expertise to resolve or
    the only significant issue in the case is the amount of damages.

    Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
    appropriate when there are significant personal or emotional barriers to resolving the dispute.

Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
of settlement conferences, the parties and their attorneys meet with a judge or a neutral person called a
"settlement officer" to discuss possible settlement of their dispute. The judge or settlement officer does
not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
case and in negotiating a settlement. Settlement conferences are appropriate in any case where
settlement is an option. Mandatory settlement conferences are often held close to the date a case is set
for trial.

ADDITIONAL INFORMATION.

In addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types
of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
a combination of ADR types. The important thing is to try to find the type or types of ADR that are most
likely to resolve your dispute.

To locate a dispute resolution program or neutral in your community:
    •    Contact the California Department of Consumer Affairs, Consumer Information Center, toll free, at
         1-800-852-5210
    •    Contact the Orange County Bar Association at (949) 440-6700
    •    Look in the telephone directories under "Arbitrators" or "Mediators"

Low cost mediation services are provided under the Orange County Dispute Resolution Program Act
(DRPA). For information regarding DRPA, contact:
          OC Human Relations (714) 480-6575, mediator@ochumanrelations.org
          Waymakers (949) 250-4058

For information on the Superior Court of California, County of Orange court ordered arbitration program,
refer to Local Rule 360.

The Orange County Superior Court offers programs for Civil Mediation and Early Neutral Evaluation
(ENE). For the Civil Mediation program, mediators on the Court's panel have agreed to accept a fee of
$300 for up to the first two hours of a mediation session. For the ENE program, members of the Court's
panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
information on the Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE)
programs is available on the Court's website at www.occourts.org.




L1200 Rev. Dec. 2019                                                                               Page 4 of 4
     Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 19 of 24 Page ID #:76



ATTORNEY OR PARTY WITHOUT ATTORNEY:             STATE BAR NO.:                                    FOR COURT USE ONLY
NAME:
FIRM NAME:
STREETADDRESS:                                                                                 FOI•   yOUr hrOLCCtIOn.
CITY:                                           STATE:              ZIPCODE:                   and pl'.1Vflcy, ]JIe1Se
TELEPHONENO.:                                   FAXNO.:                                        p1'CSS 1.i1C. CLC;ilr TYLIS
E-MAIL ADDRESS:
ATTORNEY FOR (name):                                                                           Fa11n Uutton         aftet   yoLl
                                                                                               are doiie pri.n.ting this
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE                                                 f01771.
JUSTICE CENTER:
❑ Central - 700 Civic Center Dr. West, Santa Ana, CA 92701-4045
❑ Civil Complex Center - 751 W. Santa Ana Blvd., Santa Ana, CA 92701-45 12
❑ Harbor — Newport Beach Facility — 4601 Jamboree Rd., Newport Beach, CA 92660-2595
❑ North — 1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500
❑ West— 8141 13"'Street, Westminster, CA 92683-4593

PLAINTIFF/PETITIONER:

DEFENDANT/RESPONDENT:
                                                                                             CASE NUMBER:
ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION


Plaintiff(s)/Petitioner(s),



and defendant(s)/respondent(s),



agree to the following dispute resolution process:

❑ Mediation

❑ Arbitration (must specify code)
                 ❑ Under section 1141.11 of the Code of Civil Procedure
                 ❑ Under section 1280 of the Code of Civil Procedure

❑ Neutral Case Evaluation

The ADR process must be completed no later than 90 days after the date of this Stipulation or the date the case
was referred, whichever is sooner.

❑ I have an Order on Court Fee Waiver (FW-003) on file, and the selected ADR Neutral(s) are eligible to
provide pro bono services.

❑ The ADR Neutral Selection and Party List is attached to this Stipulation.

We understand that there may be a charge for services provided by neutrals. We understand that participating in
an ADR process does not extend the time periods specified in California Rules of Court, rule 3.720 et seq.


 Date:
                                  (SIGNATURE OF PLAINTIFF OR ATTORNEY)                (SIGNATURE OF PLAINTIFF OR ATTORNEI)


 Date:
                                 (SIGNATURE OF DEFENDANT OR ATTORNEY)                 (SIGNATURE OF DEFENDANT OR ATTORNEY)

                              ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION
Approved for Optional Use                                                                        Califomia Rules of Court, rule 3.221
L1270 (Rev. March 2019)
         Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 20 of 24 Page ID #:77

                                                                                            FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
STREET ADDRESS: 700 W. Civic Center DRIVE
MAILING ADDRESS: 700 W. Civic Center Drive
                                                                                               FILED
                                                                                         SUPERR?R COURT OFCALIFORNlA
CITY AND ZIP CODE: Santa Ana 92701                                                            COUNi'Y OF ORANGE
BRANCH NAME: Central Justice Center
PLANTIFF: Michael Gosz
                                                                                            Nov 12, 2021
DEFENDANT: Rheem Sales Company, Inc. et.al.
                                                                                               Clerk d the Court
                                                                                            By: KaUe Trent Deputy
ShortTitle: GOSZ VS. RHEEM SALES COMPANY, INC.



                                                                                 CASE NUMBER:
                                NOTICE OF HEARING                                 30-2021-01231132-CU-OE-CJC
                      CASE MANAGEMENT CONFERENCE


  Please take notice that a(n), Case Management Conference has been scheduled for hearing
  on 04/12/2022 at 09:00:00 AM in Department C20 of this court, located at Central Justjce
  Center.

  Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
  that add new parties to the proceeding must provide notice of the Case Management Conference to the
  newly added parties.


    LNZPORTANT: Prior to your hearing date, please check the Court's website for the most current instructions
    regarding how to appear for your hearing and access services that are available to answer your questions.
    Civil Matters - littpsJharvvw.occoin-ts.org/media-relations/civil.html
    Probate/Mental Healtli - https•J/w-,~,iv.occourts.org/media-relations/probate-mental-healtli.htn-il


    IMPORTANTE: Antes de ]a fecha de su audiencia, visite el sitio web de la Corte para saber cuales son las
    instrucciones mas actuales para participar en la audiencia y tener acceso a los servicios dispombles para
    responder a sus preguntas.
    Casos Civiles - littpsJ/tivww.occoiu-ts.orJmedia-relations/civil.htinl
    Casos de Probate y Salud Mental - httpsJ/wNNv.occourts.org/media-relations/probate-mental-health.litml


    QUAN TRONG: Trtr&c ngay phien toa cua quy vi, vui long kiem tra trang mang cua toa An de biet nhung
    hu6ng dan moI nhat ve cach ra hau phien toa cua quy vi va tiep can nlifnig dich vu hien co d"e' gial dap nhimg
    thac mac cua quy vi.
    Van De Dan Sir - littps-Jhvww.occourts.org/media-relatioiLs/civil.litinl
    Thu Tuc Di Chuc/Suc Khoe Tinh Than - littpsJ/www.occourts.org/media-relations/probate-mental-health.litinl




                                             Clerk of the Court, By:   I lld% lIU44                                 , Deputy




                                                                                                                     Pa9e. I
                                                     NOTICE OF HEARING
         Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 21 of 24 Page ID #:78


    SUPERIOR COURT OF CALIFORNIA, COUNTY OFORANGE
    Central Justice Center
    700 W. Civic Center DRIVE
    Santa Ana 92701

   SHORT TITLE: GOSZ VS. RHEEM SALES COMPANY, INC.



                                                                                           CASE NUMBER:
            CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                   30-2021-01231132-CU-OE-CJC

     I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearinp has been
     placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
     pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
     California, on 11/12/2021. Following standard court practice the mailing will occur at Sacramento, California on
     11/15/2021.



                                          Clerk of the Court, by:   &d%IU4                                             , Deputy
     STEVENS & MCMILLAN
     335 CENTENNIAL WAY
     TUSTIN, CA 92780




                                    CLERK'S CERTIFICATE OF SERVICE BY MAIL                                                    Page' 2

V31013a (June 2004)                                                                                 Code of Civil Procedure ,§ CCP1013(a)
                     Case 2:22-cv-00316 Document 1-2 Filed 01/14/22 Page 22 of 24 Page ID #:79

                                 SUPERIOR COURT OF CALIFORNIA
                                                               COUNTY OF ORANGE




   Superior Court of California, County of Orange

   700 W. Civic Center Drive
   Santa Ana, CA 92702


                                                                                                    E-Filing Transaction #: 41263268
                                                               PAYMENT RECEIPT
                                                                                                                      Receipt #: 12798173
 Clerk ID: ktrent                Transaction No: 12970254            Transaction Date: 11/12/2021         Transaction Time: 04:20:03 PM

                                                                                      Fee              Balance             Amount             Remaining
 Case Number                   Fee Type                                    Qty                                              Paid               Balance
                                                                                    Amount$             Due

30-2021-01231132-CU-OE-CJC     194 - Complaint or other 1st paper           1           $435.00           $435.00             $435.00                 $0.00


                                                                                                        Sales Tax:              $0.00
                                                                                                                                      Total
                                                                                                            Total:            $435.00 Rem.
                                                                                                                                      Bal:
      E-Filing : - OneLegal




                                                                                                          E-Filing:           $435.00




                                                                                          Total Amount Tendered:              $435.00


                                                                                                     Change Due:                $0.00




                                                                                                         Balance:               $0.00




                      A $45 fee may be charged for each returned check, electronic funds transfer or credit card payment.

                                                                       COPY




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           Electronically Filed by Superior Court of California, County of Orange, 12/21/2021 01:41:00 PM.
         Case   2:22-cv-00316- ROA
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                                                                                                         Deputy
                                                                                                                 POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                              FOR COURT USE ONLY
    Heather McMillan, 188939
    Stevens & McMillan
    335 Centennial Way, Suite
    Tustin, CA 92780
          TELEPHONE NO.: (714)730-1000
     ATTORNEY FOR (Name): Plaintiff

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
 Superior Court of California, Orange County
 700 Civic Center Drive West
 Santa Ana, CA 92702-1994
      PLAINTIFF/PETITIONER:              Michael Gosz                                                 CASE NUMBER:


                                                                                                     30-2021-01231132-CU-OE-CJC
 DEFENDANT/RESPONDENT:                   Rheem Sales Company, Inc., et al.
                                                                                                      Ref. No. or File No.:

                                    PROOF OF SERVICE OF SUMMONS                                       GOSZ
1. At the time of service I was a citizen of the United States, at least 18 years of age and not a party to this action.
2. I served copies of:
Summons, Complaint, Civil Case Cover Sheet, Alternative Dispute Resolution (ADR) Information Package, Notice of Hearing



3. a. Party served: RHEEM MANUFACTURING COMPANY
    b. Person Served: CSC - Nicole Stauss - Person Authorized to Accept Service of Process

4. Address where the party was served:            2710 Gateway Oaks Drive, Suite 150N
                                                  Sacramento, CA 95833
5. I served the party
     a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
        receive service of process for the party (1) on (date): 12/16/2021                (2) at (time): 1:35PM
6. The "Notice to the Person Served" (on the summons) was completed as follows:




      d. on behalf of:

      RHEEM MANUFACTURING COMPANY
      under: CCP 416.10 (corporation)
7. Person who served papers
   a. Name:        Tyler Anthony DiMaria
   b. Address:     One Legal - P-000618-Sonoma
                                 1400 North McDowell Blvd, Ste 300
                                 Petaluma, CA 94954

  c. Telephone number: 415-491-0606
  d. The fee for service was: $ 40.00
  e I am:
       (3) registered California process server.
             (i) Employee or independent contractor.
             (ii) Registration No.: 2006-06
            (iii) County: Sacramento
8. I declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
Date:     12/16/2021


                    Tyler Anthony DiMaria
                     (NAME OF PERSON WHO SERVED PAPERS)                                                       (SIGNATURE)
  Form Adopted for Mandatory Use                                                                                                 Code of Civil Procedure, § 417.10
Judicial Council of California POS-010
        [Rev. Jan 1, 2007]                              PROOF OF SERVICE OF SUMMONS
                                                                                                                    OL# 17381473
           Electronically Filed by Superior Court of California, County of Orange, 12/21/2021 01:41:00 PM.
          Case  2:22-cv-00316
 30-2021-01231132-CU-OE-CJC          Document
                                 - ROA            1-2H.Filed
                                       # 11 - DAVID              01/14/22
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                                                                                the Court          Page ID   #:81Clerk.
                                                                                                           Deputy
                                                                                                                  POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                              FOR COURT USE ONLY
    Heather McMillan, 188939
    Stevens & McMillan
    335 Centennial Way, Suite
    Tustin, CA 92780
          TELEPHONE NO.: (714)730-1000
     ATTORNEY FOR (Name): Plaintiff

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 Superior Court of California, Orange County
 700 Civic Center Drive West
 Santa Ana, CA 92702-1994
      PLAINTIFF/PETITIONER:              Michael Gosz                                                 CASE NUMBER:


                                                                                                     30-2021-01231132-CU-OE-CJC
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                    Tyler Anthony DiMaria
                     (NAME OF PERSON WHO SERVED PAPERS)                                                       (SIGNATURE)
  Form Adopted for Mandatory Use                                                                                                 Code of Civil Procedure, § 417.10
Judicial Council of California POS-010
        [Rev. Jan 1, 2007]                              PROOF OF SERVICE OF SUMMONS
                                                                                                                    OL# 17381472
